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 11
                          UNITED STATES DISTRICT COURT
 12
                        CENTRAL DISTRICT OF CALIFORNIA
 13
 14
 15   Antonio Fernandez,                      Case No.
 16               Plaintiff,                  Complaint for Injunctive Relief
 17                                           and Damages for Violations of:
 18
         v.
                                              1. Title II of the Americans with
 19   City of Fullerton; and Does 1-10,          Disabilities Act, 42 U.S.C.
 20                                              §12132 et seq.; and
                  Defendants.                 2. California’s Disabled Persons
 21
                                                 Act, Cal. Civ. Code § 54 et seq.
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  1                                    INTRODUCTION
  2          1.        Plaintiff Antonio Fernandez (“Plaintiff”), an individual with
  3   physical disabilities who uses a wheelchair for mobility, brings the instant
  4   action alleging that the City of Fullerton (“City”) and Does 1-10 (collectively,
  5   “Defendants”) have discriminated against him on the basis of his disability in
  6   violation of federal and state anti-discrimination statutes.
  7          2.        Specifically, Plaintiff alleges that Defendants have failed and/or
  8   refused to properly construct, alter, maintain and/or operate the public
  9   facilities at the Laguna Lake Park, such that those facilities are inaccessible
 10   and unusable to him as a wheelchair user and serve as barriers to his ability to
 11   access the City’s service programs and activities.
 12          3.        Through this lawsuit, Plaintiff seeks an injunction requiring
 13   Defendants to make the public facilities at the Laguna Lake Park accessible
 14   to him as required by law. Plaintiff also seeks damages and reasonable
 15   attorneys’ fees, costs and litigation expenses for enforcing his civil rights.
 16
 17                              JURISDICTION & VENUE
 18          4.        This Court has subject matter jurisdiction over this action
 19   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the
 20   Americans with Disabilities Act (“ADA”).
 21          5.        Pursuant to pendent jurisdiction, an attendant and related cause
 22   of action arising from the same facts is also brought under the Disabled
 23   Persons Act (“CDPA”), Cal. Civ. Code § 54 et seq. The CDPA expressly
 24   incorporates the ADA. Cal. Civ. Code §§ 54 (c) and 54.1(d).
 25          6.        Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and
 26   is founded on the fact that the real properties which are the subject of this
 27   action are located in this district and that Plaintiff's cause of action arose in
 28   this district.


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  1                                      PARTIES
  2         7.     Plaintiff Antonio Fernandez is an individual and California
  3   resident.
  4         8.     Defendant City of Fullerton is a municipal corporation and
  5   political subdivision of the State of California.
  6         9.     Plaintiff is currently unaware of the true identities of DOES 1-
  7   10, inclusive, and will seek leave to amend his Complaint when their true
  8   names, capacities, connections, and responsibilities are ascertained.
  9         10.    Plaintiff is informed and believes that each of the Defendants is
 10   the agent, ostensible agent, alter ego, master, servant, trustor, trustee,
 11   employer, employee, representative, franchiser, franchisee, lessor, lessee,
 12   joint venturer, parent, subsidiary, affiliate, related entity, partner, and/or
 13   associate, or such similar capacity, of each of the other Defendants, and was
 14   at all times acting and performing, or failing to act or perform, within the
 15   course and scope of such similar aforementioned capacities, and with the
 16   authorization, consent, permission or ratification of each of the other
 17   Defendants, and is personally responsible in some manner for the acts and
 18   omissions of the other Defendants in proximately causing the violations and
 19   damages complained of herein, and have participated, directed, and have
 20   ostensibly and/or directly approved or ratified each of the acts or omissions of
 21   each of the other Defendants, as herein described.
 22
 23                           FACTUAL ALLEGATIONS
 24         11.    Laguna Lake Park is a 28.5 acre public park located at 3120
 25   Lakeview Drive in the City of Fullerton in California (“Park”).
 26         12.    The Park offers members of the public access to trails, picnic
 27   areas, an equestrian center, and lake fishing.
 28



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  1         13.    At all times relevant herein, the City owned, controlled,
  2   maintained and exercised dominion over the Park.
  3         14.    Plaintiff has physical impairments resulting from a bone
  4   infection that significantly limit his mobility.
  5         15.    Plaintiff cannot walk and utilizes a wheelchair for mobility.
  6         16.    In order for Plaintiff to have full and equal access to and use of
  7   public facilities, those facilities must be constructed in compliance with
  8   federal and state accessibility standards.
  9         17.    Plaintiff visits the Park on a regular basis to fish and relax.
 10         18.    On dates including July 1, 2018, July 27, 2018, and August 11,
 11   2018, Plaintiff personally encountered accessibility barriers at the Park that
 12   caused him to experience fear, difficulty, discomfort, inconvenience, distress,
 13   and embarrassment.
 14         19.    Plaintiff utilized the public entrance located at the south west
 15   corner of the intersection of Lakeside Drive and Hermosa Drive (“Entrance”)
 16   because it was closest to the facilities he used and activities he enjoyed.
 17         20.    The Entrance was apparently intended to be accessible as the
 18   curb was cut. However, the Entrance was not correctly constructed and/or was
 19   not maintained in an accessible condition. The Entrance was in poor and
 20   dangerous condition.
 21         21.    Additionally, the pedestrian path of travel from the Entrance to
 22   the lake was neither level nor firm, consisting of gravel and dirt.
 23         22.    As a result of these conditions, the Entrance and path of travel to
 24   the lake were difficult and dangerous for wheelchair users like Plaintiff to
 25   navigate.
 26         23.    On each of the dates Plaintiff visited the Park, including July 1,
 27   2018, July 27, 2018, and August 11, 2018, Plaintiff had to wait 15 to 20
 28   minutes to ask someone to help him navigate the barriers to the Entrance and


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  1   path in his wheelchair so he could access the Park and its amenities. The
  2   experiences caused him emotional and physical distress and embarrassment.
  3          24.    On September 7, 2018, Plaintiff wrote to the City to explain how
  4   the barriers at the Entrance impacted him and asked the City to repair the curb
  5   and pave the walkway from the curb to the facilities of the lake as a reasonable
  6   modification for his disability.
  7          25.    The City did not respond to Plaintiff’s September 7, 2018
  8   request.
  9          26.    On December 10, 2018, Plaintiff filed a government claim with
 10   the City, again asking that they repair the curb and pave the walkway from the
 11   curb to the facilities of the lake as a “reasonable modification” for his
 12   disability.
 13          27.    On or about December 20, 2018, Plaintiff visited the Park and
 14   discovered that the City had installed a chain at the curb ramp at the Entrance,
 15   rendering the entire Entrance completely inaccessible to and unusable by
 16   wheelchair users.
 17          28.    Able bodied individuals are still able to use the Entrance, as it
 18   remains open to the public.
 19          29.    Plaintiff has been prevented and deterred from using the
 20   Entrance as a result of the above-described barriers since December 20, 2018.
 21          30.    On information and belief, the above-described barriers at the
 22   Entrance persist as of the date of the filing of this Complaint.
 23          31.    In addition to the above-described barriers, there are other
 24   barriers at the Park that prevent and deter Plaintiff from safely           and
 25   meaningfully entering the Park and reaching the water like other patrons.
 26          32.    For example, there are alternative paths leading into the Park and
 27   to the water: the paths off the lake’s parking lot and an entrance off of
 28   Lakeside Drive. None of these paths are accessible to people with disabilities


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  1   who use wheelchairs like Plaintiff for various reasons, including but not
  2   limited to:
  3                    a. Paths with running slopes exceeding 2.08% percent;
  4                    b. Ramps with slopes of 5% or more that lack required
  5                        handrails;
  6                    c. Ramps that lack required landings;
  7                    d. Lips and drop-offs along the pedestrian route that exceed
  8                        1 inch;
  9                    e. Routes that are excessively not level, and not firm; and
 10                    f. Platforms (for fishing, viewing and other activities) that
 11                        are not maintained in an accessible manner and are
 12                        deteriorating.
 13         33.     Plaintiff is and has been prevented and deterred from returning
 14   to the Park due to the inaccessible conditions he has encountered and is aware
 15   exist at the Park.
 16
            34.     Plaintiff has been distressed by the City’s failure to act on his
 17
      requests that they remedy the conditions at the Park, including the Entrance.
 18
      Plaintiff feels excluded and like a second class citizen.
 19
            35.     On information and belief, there are even more barriers to the
 20
      Park that relate to Plaintiff’s disability. Plaintiff will amend his Complaint
 21
      once these additional barriers are identified through a noticed site inspection.
 22
            36.     On information and belief, the Park, including the Entrance,
 23
      ramps and paths of travel leading in and out of the Park, has undergone
 24
      construction and/or alteration, in whole or in part, since January 1, 1982,
 25
      triggering applicability of California accessibility standards, California Code
 26
      of Regulations, Title 24. Plaintiff is informed and believes, and on that basis
 27
      alleges that Defendants have failed to comply with these standards.
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  1         37.    On information and belief, the Park, including the Entrance,
  2   ramps and paths of travel leading in and out of the Park, has undergone
  3   construction and/or alterations, in whole or in part, since January 26, 1992
  4   triggering applicability of the ADA Standards for Accessible Design, 36
  5   C.F.R. pt. 1191, appxs. B and D; 28 C.F.R. pt. 36, subpart D. Plaintiff is
  6   informed and believes, and on that basis alleges that Defendants have failed
  7   to comply with these standards.
  8         38.    Plaintiff plans to visit the Park to recreate in the future. Until the
  9   above-described accessibility barriers are removed, Plaintiff will continue to
 10   be denied full and equal access to Park, will be prevented and deterred from
 11   visiting the Park, and will suffer ongoing discrimination and damage.
 12         39.    The nature of Defendants’ discrimination is ongoing and
 13   continuous. Unless enjoined by this Court, Plaintiff will suffer ongoing and
 14   irreparable injury.
 15         40.    Plaintiff has no adequate remedy at law because monetary
 16   damages, which may compensate for past unlawful conduct, will not afford
 17   adequate relief for the harm caused by the continuation of the wrongful
 18   conduct of Defendants and the denial of Plaintiff’s civil rights as herein
 19   alleged. Accordingly, Plaintiff is entitled to injunctive relief.
 20
 21                         GOVERNMENT CLAIM FILED
 22        (With regard to claims for damages under California State Law)
 23         41.    Plaintiff timely filed a government claim pursuant to § 910 et seq.
 24   of the California Government Code with the City on or about December 10,
 25   2018 and a supplemental government claim on or about January 10, 2019.
 26   Plaintiff’s claim was rejected by the City on March 15, 2019.
 27
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  1                           FIRST CAUSE OF ACTION
  2                  Title II of the Americans with Disabilities Act
  3                               42 U.S.C. §12132 et seq.
  4         42.    Plaintiff re-pleads and incorporates by reference the allegations
  5   contained in each of the foregoing paragraphs.
  6         43.    Title II of the ADA provides in pertinent part: “[N]o qualified
  7   individual with a disability shall, by reason of such disability, be excluded
  8   from participation in or be denied the benefits of the services, programs, or
  9   activities of a public entity, or be subjected to discrimination by any such
 10   entity.” 42 U.S.C. § 12132.
 11         44.    Plaintiff is, and at all times relevant herein was, a person with a
 12   “disability” within the meaning of the ADA. 42 U.S.C. § 12102.
 13         45.    Defendants have fifty (50) or more employees.
 14         46.    Defendants are, and at all times relevant herein were, public
 15   entities within the meaning of Title II of the ADA. 42 U.S.C. § 12131(1).
 16         47.    The Park is a program, service, and/or activity Defendants offer
 17   to members of the public.
 18         48.    The Park is also a facility through which Defendants provide
 19   access to others of the City’s services, programs, and activities.
 20         49.    Plaintiff is, and at all times relevant herein was, a “qualified
 21   individual with a disability” within the meaning of Title II of the ADA. 42
 22   U.S.C. § 12131(2).
 23         50.    As a member of the public, Plaintiff meets the essential eligibility
 24   requirements for the use of the Park and its facilities.
 25         51.    Defendants’ acts and omissions as herein alleged have excluded
 26   and/or denied Plaintiff the benefit and use of the Park and its facilities, in
 27   violation of Title II and its implementing regulations. The Defendants’
 28   discriminatory conduct includes, inter alia:


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  1                 a. Failing to operate the Park and its facilities so that they are
  2                    “readily accessible to and usable by individuals with
  3                    disabilities” (28 C.F.R. § 35.150(a));
  4                 b. Failing to design, construct, and/or alter the Park and its
  5                    facilities in a manner such that they are readily accessible
  6                    to and usable by individuals with disabilities, when the
  7                    construction/alteration was commenced after January 26,
  8                    1992 (28 C.F.R. § 35.151);
  9                 c. Denying Plaintiff the opportunity to participate in or
 10                    benefit from the aids, benefits, or services offered by
 11                    Defendants to members of the public by and through the
 12                    Park and its facilities, on the basis of his disabilities (28
 13                    C.F.R. § 35.130(b)(1)(i));
 14                 d. Affording Plaintiff an opportunity to participate in or
 15                    benefit from the aids, benefits, or services offered by
 16                    Defendants to members of the public by and through the
 17                    Park and its facilities that is not equal to that afforded his
 18                    non-disabled peers (28 C.F.R. § 35.130(b)(1)(ii));
 19                 e. Otherwise limiting Plaintiff in the enjoyment of any right,
 20                    privilege, advantage, or opportunity enjoyed by others
 21                    receiving the aids, benefits, or services offered by
 22                    Defendants to members of the public by and through the
 23                    Park and its facilities (28 C.F.R. § 35.130(b)(1)(vii));
 24                 f. Utilizing methods of administration that have the effect of
 25                    subjecting Plaintiff to discrimination on the basis of his
 26                    disability (28 C.F.R. § 35.130(b)(3)(i)); and
 27                 g. Failing to make reasonable modifications in policies,
 28                    practices, or procedures where necessary to avoid


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   1                        discrimination against Plaintiff on the basis of his
   2                        disability (28 C.F.R. § 35.130(b)(7)).
   3          52.    Under Title II of the ADA, Defendants were required to conduct
   4   a self-evaluation of its services, policies, and practices, and the effects thereof,
   5   by no later than January 26, 1993. 28 C.F.R. § 35.105(a). On information and
   6   belief, as of the date of the filing of this Complaint, Defendants have failed to
   7   conduct a self-evaluation of the Park and its facilities.
   8          53.    Under Title II of the ADA, Defendants were required to develop
   9   a transition plan setting forth the steps necessary to complete the structural
  10   changes necessary to achieve program accessibility of the Park and its
  11   facilities within six months of January 26, 1992. 28 C.F.R. § 35.150(d)(1). On
  12   information and belief, as of the date of the filing of this Complaint,
  13   Defendants have failed to develop a transition plan setting forth the steps
  14   necessary to complete the structural changes required to achieve program
  15   accessibility of the Park and its facilities.
  16          54.    Under Title II of the ADA, Defendants were required to remove
  17   physical barriers that limit or deny people with disabilities access to its
  18   programs, services and activities by no later than January 26, 1995. 28 C.F.R.
  19   § 35.150(c). On information and belief, Defendants have failed, since the
  20   ADA was enacted and every year thereafter, to take appropriate measures to
  21   remove barriers to the Park and its facilities.
  22          55.    Defendants’ duties under Title II of the ADA pertaining to the
  23   accessibility of the Park and its facilities are mandatory and long-established.
  24   Defendants had knowledge of their duties at all times relevant herein; their
  25   failure to carry out said duties as alleged herein was a willful and knowing
  26   decision and choice, and/or the product of deliberate indifference.
  27          56.    Defendants were provided actual notice of the barriers to the Park
  28   and its facilities; the impact those barriers have had on Plaintiff’s access to


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   1   and use of the Park and its facilities; and their duty to remove such barriers
   2   under Title II of the ADA. Despite this actual notice, Defendants failed and
   3   refused to take any steps to remove the barriers at the Park, choosing instead
   4   to make the Park even less accessible to wheelchair users like Plaintiff by
   5   blocking off the ramp at the Entrance with a chain. Defendants’ failures in this
   6   regard constitute deliberate indifference.
   7         57.    Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiff prays for
   8   judgment as set forth below.
   9
  10                         SECOND CAUSE OF ACTION
  11                         California Disabled Persons Act
  12                        California Civil Code § 54 et seq.
  13                 (Statutory Damages and Attorneys’ Fees Only)
  14         58.    Plaintiff re-pleads and incorporates by reference the allegations
  15   contained in each of the foregoing paragraphs.
  16         59.    The     Disabled    Persons      Act   (“CDPA”)    provides    that
  17   “[i]ndividuals with disabilities or medical conditions have the same right as
  18   the general public to the full and free use of the streets, highways, sidewalks,
  19   walkways, public buildings, … public facilities, and other public places.” Cal.
  20   Civ. Code §54 (a).
  21         60.    The CDPA also provides that “[i]ndividuals with disabilities shall
  22   be entitled to full and equal access, as other members of the general public, to
  23   accommodations, advantages, facilities, ... and privileges of all ... places of
  24   public accommodation, ... and other places to which the general public is
  25   invited’.” Cal. Civ. Code §54.1(a)(1).
  26         61.    A violation of the ADA is also a violation of the CDPA. Cal. Civ.
  27   Code, § 54(c) and 54.1(d).
  28



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   1           62.   Any person or persons, firm or corporation who denies or
   2   interferes with an individual’s rights under Section 54 or 54.1 is liable for each
   3   offense. Cal. Civ. Code §54.3(a).
   4           63.   The Park and its facilities are public places, public facilities,
   5   places of public accommodation, and/or other places to which the general
   6   public is invited as contemplated by the CDPA.
   7           64.   As the owners and or operators of the Park and its facilities,
   8   Defendants are obligated to comply with the provisions of the CDPA.
   9           65.   Defendants are persons subject to California Civil Code section
  10   54.3.
  11           66.   Defendants are municipal corporations subject to California
  12   Civil Code section 54.3.
  13           67.   Plaintiff is an individual with a physical disability within the
  14   meaning of California Government Code section 12926(m).
  15           68.   Defendants’ acts and omissions, as herein alleged, have violated
  16   the CDPA by denying, or aiding or inciting the denial of, Plaintiff’s rights to
  17   full and equal access to the accommodations, advantages, facilities, and
  18   privileges of the Park and its facilities.
  19           69.   Defendants’ acts and omissions, as herein alleged, have also
  20   violated the CDPA by denying, or aiding or inciting the denial of, Plaintiff’s
  21   rights to equal access arising from the provisions of the ADA (see Plaintiff’s
  22   First Cause of Action).
  23           70.   Defendants’ duties under the CDPA are mandatory and long
  24   established. Defendants are deemed to have had knowledge of their duties at
  25   all times relevant herein; their failure to carry out said duties as alleged herein
  26   was willful and knowing and/or the product of deliberate indifference.
  27           71.   Defendants were provided actual notice of the barriers to the Park
  28   and its facilities; the impact those barriers have had on Plaintiff’s access to


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   1   and use of the Park and its facilities; and their duty to remove such barriers
   2   under the CDPA. Despite this actual notice, Defendants failed and refused to
   3   take any steps to remove the barriers at the Park, choosing instead to make the
   4   Park even less accessible to wheelchair users like Plaintiff by blocking off the
   5   ramp at the Entrance with a chain. Defendants’ failures in this regard
   6   constitute deliberate indifference.
   7         72.      Pursuant to the remedies, procedures, and rights set forth in Cal.
   8   Civ. Code § 54.3(a), Plaintiff prays for statutory damages and attorneys’ fees
   9   under Cal. Civ. Code § 54.3(a). Note: Plaintiff is not invoking section 55 of
  10   the California Civil Code and is not seeking injunctive relief under the CDPA.
  11
  12                                       PRAYER
  13   WHEREFORE, Plaintiff respectfully requests that this Court:
  14               a. Issue an injunction pursuant to the ADA enjoining Defendants to
  15                  modify the Park and its facilities to comply with federal and state
  16                  accessibility standards;
  17               b. Award Plaintiff general, compensatory, and statutory damages in
  18                  an amount within the jurisdiction of this court;
  19               c. Award Plaintiff attorneys’ fees, litigation expenses, and costs of
  20                  suit, as provided by law; and
  21               d. Award such other and further relief as the Court may deem just
  22                  and proper.
  23
  24   Dated: March 27, 2019                      Center for Disability Access
  25
  26
  27                                             By:
  28                                             Russell Handy
                                                 Attorneys for Plaintiff

                                                 13

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